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9    JAMES SHAYLER
10
                           UNITED STATES DISTRICT COURT
11
                         CENTRAL DISTRICT OF CALIFORNIA
12

13

14
     JAMES SHAYLER,                                 Case No.:
15           Plaintiff,
16
     vs.                               COMPLAINT FOR VIOLATIONS
17                                     OF: AMERICAN’S WITH
18
     FARHANG NEJATHAIM AND             DISABILITIES ACT OF 1990, 42
     JENUS NEJATHAIM, TRUSTEES         U.S.C. § 12181 ET SEQ.; UNRUH
19   OF THE JACOB AND JENUS            CIVIL RIGHTS ACT,
20   NEJATHAIM TRUST DATED             CALIFORNIA CIVIL CODE § 51
     NOVEMBER 18, 2002; and Does 1-10, ET SEQ.
21

22
                   Defendants.

23

24

25
           Plaintiff JAMES SHAYLER (hereinafter referred to as “Plaintiff”),
26
     complains     of   FARHANG         NEJATHAIM          AND      JENUS      NEJATHAIM,
27
     _____________________________________________________________________________________________
28                                            COMPLAINT
                                                   1
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1    TRUSTEES OF THE JACOB AND JENUS NEJATHAIM TRUST DATED
2
     NOVEMBER 18, 2002 and Does 1-10 (each, individually a “Defendant” and
3
     collectively “Defendants”) and alleges as follows:
4
                                        I.      PARTIES
5
           1.      Plaintiff is a California resident with physical disabilities. Plaintiff has
6

7    undergone two knee replacement surgeries and suffers from an acute pinched
8
     sciatic nerve as well as arthritis. He has difficulty walking and standing. Plaintiff
9

10   also has limited range of movement in his legs. Plaintiff is mobility impaired and
11
     uses a walker as needed. Plaintiff is qualified as being disabled pursuant to 42 USC
12
     Section 12102(2)(A), the California Unruh Civil Rights Act, Sections 51, et seq.
13

14   and 52, et seq., and other statutory laws which protect the rights of “disabled
15
     persons”. Plaintiff has been issued a blue permanent disability Disabled Person
16

17   Parking Placard by the State of California.
18
           2.      Defendants owned the property (“Property”) located at 2255 S.
19
     Sepulveda Blvd., Los Angeles, California 90064, at all relevant times.
20
           3.      There is a business establishment on the Property known as “Elite
21

22   Floor Covering" (hereinafter “Elite Floor Covering”).
23
           4.      DOES 1 through 10 were at all relevant times lessors, lessees,
24
     property owners, subsidiaries, parent companies, employers, employees, agents,
25
     corporate officers, managers, principles and/or representatives of Defendants.
26
     Plaintiff is unaware of the true names and capacities of Defendants sued herein, as
27
     _____________________________________________________________________________________________
28                                            COMPLAINT
                                                   2
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1    DOES 1 through 10, inclusive, and therefore, sues those Defendants by fictitious
2
     names. Plaintiff requests that the Court grant leave to amend this complaint to
3
     allege the true names and capacities when determined by whatever source.
4
            5.     Plaintiff alleges that Defendants at all times have been and are
5
     relevant to this cause of action, the owners, franchisees, lessees, general partners,
6

7
     limited partners, agents, employees, employers, represent partners, subsidiaries,

8    partner companies, and/or joint ventures of the remaining Defendants and were
9    acting within the course and scope of that relationship. Plaintiff is further informed
10   and believes and alleges that each of the Defendants gave consent to, ratified,
11
     and/or authorized the acts alleged of each of the remaining defendants.
12
            6.     Plaintiff visited the public accommodations owned and operated by
13
     Defendants with the intent to purchase and/or use the goods, services, facilities,
14
     privileges, advantages or accommodations operated and/or owned by Defendants.
15

16
                              II.    JURISDICTION & VENUE

17          7.     This Court has subject matter jurisdiction over this action pursuant to
18   28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the American with
19   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq. (the “ADA”).
20          8.     Pursuant to supplemental jurisdiction, an attendant and related cause
21
     of action, arising from the same nucleus of operative facts and arising out of the
22
     same transactions, is also brought under California’s Unruh Civil Rights Act,
23
     which act expressly incorporates the ADA.
24
            9.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) and is
25

26   founded on the fact that the real property which is the subject of this action is
27   located in this district and that Plaintiffs cause of action arose in this district.
     _____________________________________________________________________________________________
28                                            COMPLAINT
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1                                         III.   FACTS
2
           10.     The Property owned by Defendants is a facility which is open to the
3
     public and is a business establishment.
4
           11.     Plaintiff alleges that the Property has been newly constructed and/or
5
     underwent remodeling, repairs, or alterations since 1992, and that Defendants have
6

7
     failed to comply with California access standards which applied at the time of each

8    new construction and/or alteration or failed to maintain accessible features in
9    operable working condition.
10         12.     Plaintiff visited the Property during the relevant statutory period on
11
     two (2) separate occasions including in February 2019 and March 2019 to shop for
12
     flooring for his condominium home.
13
           13.     Defendants did not offer persons with disabilities with equivalent
14
     facilities, privileges and advantages offered by Defendants to other patrons.
15

16
           14.     Plaintiff encountered barriers (both physical and intangible) that

17   interfered with – and denied – Plaintiff the ability to use and enjoy the goods,
18   services, privileges and accommodations offered at the Property.
19         15.     Parking for patrons visiting the Property are among the facilities,
20   privileges, and advantages offered by Defendants to patrons of the Property.
21
           16.     However, there is no accessible parking for disabled persons and the
22
     parking spaces designated for disabled person do not comply with the Americans
23
     with Disabilities Act (“ADA”).
24
           17.     The parking area does not comply with the latest California Building
25

26   Codes (“2010 CBC Code”).
27         18.     There was no designated disabled parking located at the Property. Not
     _____________________________________________________________________________________________
28                                            COMPLAINT
                                                   4
     Case 2:19-cv-05387-FMO-JPR Document 1 Filed 06/20/19 Page 5 of 12 Page ID #:5



1    one single space. 2010 CBC Section 1129B.1; ADA 1991 Code § 4.6; ADA 2010
2
     Code § 208.1.
3
              19.   There are no signs posted at either of the off-street entrances to the
4
     parking lot which provide information about unauthorized parking in disabled
5
     spaces. 2010 CBC Code 1129B.4.
6

7
              20.   There was no marked path of travel to the entrance. 2010 CBC

8    1129B.3.1; ADA 1991 Code § 4.6.3; ADA 2010 Code § 502.3.
9             21.   The paths of travel from the parking spaces to the entrance have
10   damaged asphalt on the ground which is uneven. There are potholes. There are
11
     open cracks. There are large pieces of missing asphalt. The damaged asphalt on the
12
     ground is uneven with loose material. There are cracks and uneven surfaces. The
13
     surface of the ground is unstable. 2010 CBC Code 1120B.2; ADA 2010 section
14
     302.1. This makes walking in this area difficult and even hazardous.
15

16
              22.   An accessible route of travel should be provided to the building

17   entrance. 2010 CBC Code 1114B.1.2; ADA 1991 § 4.3.2. However, there is no
18   accessible route of travel to the mortgage company entrance.
19            23.   There is no directional signage for an accessible route of travel from
20   the parking to the entrance. 2010 CBC Code 1117B.5.1.2; ADA 2010 section
21
     216.3.
22
              24.   The parking area had such damaged asphalt that it caused changes in
23
     level greater than 1/2 inch, but provided no ramps. These steep changes in level
24
     created uneven surfaces. 2010 CBC Code 1133B.7.4; ADA 2010 section 303.3.
25

26            25.   Entrance at the door is one of the facilities, privileges, and advantages
27   offered by Defendants to patrons of the Property.
     _____________________________________________________________________________________________
28                                            COMPLAINT
                                                   5
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1           26.    When Plaintiff visited the Property, he experienced access barriers
2
     related to the entrance.
3
            27.    The entrance had changes in level greater than 1/2 inch, but provided
4
     no ramps. These steep changes in level created uneven surfaces. 2010 CBC Code
5
     1133B.7.4; ADA 2010 section 303.3.
6

7
            28.    Plaintiff personally encountered these barriers.

8           29.    These inaccessible conditions denied Plaintiff full and equal access
9    and caused difficulty, humiliation and frustration.
10          30.    The barriers existed during each of Plaintiff’s visits in 2019.
11
            31.    Plaintiff alleges that Defendants knew that the architectural barriers
12
     prevented access. Plaintiff will prove that Defendants had actual knowledge that
13
     the architectural barriers prevented access and that the noncompliance with the
14
     ADAAG and Title 24 of the California Building Code regarding accessible features
15

16
     was intentional.

17          32.    Plaintiff intends to return to Defendants public accommodation
18   facilities in the near future. Plaintiff is currently deterred from returning because
19   of the knowledge of barriers to equal access that continue to exist at Defendants’
20   facilities that relate to Plaintiff’s disabilities.
21
            33.    Defendant has failed to maintain in working and useable conditions
22
     those features necessary to provide ready access to persons with disabilities.
23
            34.    Defendants have the financial resources to remove these barriers
24
     without much expense or difficulty in order to make their Property more accessible
25

26   to their mobility impaired customers. These barriers are readily achievable to
27   remove. The United States Department of Justice has identified that these types of
     _____________________________________________________________________________________________
28                                            COMPLAINT
                                                   6
     Case 2:19-cv-05387-FMO-JPR Document 1 Filed 06/20/19 Page 7 of 12 Page ID #:7



1    barriers are readily achievable to remove.
2
           35.     To date, Defendants refuse to remove these barriers.
3
           36.     On information and belief, the Plaintiff alleges that the Defendants’
4
     failure to remove these barriers was intentional because the barriers are logical and
5
     obvious. During all relevant times Defendants had authority, control and dominion
6

7
     over these conditions and therefore the absence of accessible facilities was not a

8    mishap but rather an intentional act.
9          37.     These barriers to access are described herein without prejudice to
10   Plaintiff citing addition barriers to access after inspection by plaintiff’s access
11
     agents, pursuant to Doran v 7-ELEVEN, Inc. 524 F3d 1034 (9th Cir. 2008) (holding
12
     once a plaintiff encounters one barrier at a site, a plaintiff can sue to have all
13
     barriers that relate to their disability removed regardless of whether they personally
14
     encountered them).
15

16
       IV. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
        WITH DISABILITIES ACT OF 1990 (42 U.S.C. section 12101, et seq.)
17
                                    (Against All Defendants)
18

19         38.     Plaintiff alleges and incorporates by reference each and every
20   allegation contained in all prior paragraphs of this complaint.
21
           39.     Title III of the ADA prohibits discrimination against any person on
22
     the basis of disability in the full and equal enjoyment of the goods, services,
23
     facilities, privileges, advantages, or accommodations of any place of public
24
     accommodation by any person who owns, leases or leases to, operates a place of
25

26
     public accommodation. U.S.C. § 12182(a).

27         40.     Defendants discriminated against Plaintiff by denying “full and equal
     _____________________________________________________________________________________________
28                                            COMPLAINT
                                                   7
     Case 2:19-cv-05387-FMO-JPR Document 1 Filed 06/20/19 Page 8 of 12 Page ID #:8



1    enjoyment” and use of the goods, services, facilities, privileges or accommodations
2
     of Defendant’s facility during each visit and each incident of deterred visit.
3
            41.    The acts and omissions of Defendants herein are in violation of
4
     Plaintiff’s rights under the ADA and the regulations under 28 C.F.R. Part 36, et
5
     seq.
6

7
            42.    Pursuant to the ADA, discrimination is a “failure to make reasonable

8    modifications in policies, practices or procedures, when such modifications are
9    necessary to afford goods, services, facilities, privileged, advantages or
10   accommodation to individuals with disabilities, unless the entity can demonstrate
11
     that making such modifications would fundamentally alter the nature of such
12
     goods, services, facilities, privileges, advantages or accommodations.” 42 U.S.C.
13
     § 12182(b)(2)(A)(ii).
14
            43.    The ADA prohibits failing to remove structural architectural barriers
15

16
     in existing facilities where such removal is readily achievable. 42 U.S.C. §

17   12182(b)(2)(A)(iv). The term “readily achievable” is defined as “easily
18   accomplishable and able to be carried out without much difficulty or expense.” Id.
19   § 12181(9). Barriers are defined by reference to the ADAAG, found at 28 C.F.R.,
20   Part 36.
21
            44.    In the event removal of any barrier is shown to not be readily
22
     achievable, a failure to make goods, services, facilities, or accommodations
23
     available through alternative methods is also prohibited if these methods are
24
     readily achievable. Id. § 12182(b)(2)(A)(v).
25

26          45.    Plaintiff alleges that Defendants can easily remove the architectural
27   barriers at their facility without much difficulty or expense, and that Defendants
     _____________________________________________________________________________________________
28                                            COMPLAINT
                                                   8
     Case 2:19-cv-05387-FMO-JPR Document 1 Filed 06/20/19 Page 9 of 12 Page ID #:9



1    violated the ADA by failing to remove those barriers because it was readily
2
     achievable to do so. Defendants can afford such costs given they are a fraction of
3
     what the Defendants takes in rental profits for such a property.
4
           46.     In the alternative, if it was not “readily achievable” for Defendants to
5
     remove the facilities barriers, the Defendants violated the ADA by failing to make
6

7
     the required services available through alternative methods, which are readily

8    achievable.
9          47.     On information and belief, the facility was modified after January 26,
10   1992, mandating access requirements under the ADA.
11
           48.     The ADA requires that facilities altered in a manner that affects or
12
     could affect its usability must be made readily accessible to individuals with
13
     disabilities to the maximum extent feasible. 42 U.S.C. §12183(a)(2).
14
           49.     Plaintiff alleges that Defendants altered the facility in a manner that
15

16
     violated the ADA and was not readily accessible to physically disabled persons,

17   including Plaintiff, to the maximum extent feasible.
18         50.     The ADA also requires reasonable modification in policies, practices,
19   or procedures when necessary to afford such goods, services, facilities, or
20   accommodations to individuals with disabilities, unless the entity can demonstrate
21
     that making such modifications would fundamentally alter their nature. 42 U.S.C.
22
     § 12182(b)(2)(A)(ii).
23
           51.     Plaintiff alleges that Defendants violated the ADA by failing to make
24
     reasonable modifications in policies, practices, or procedures at the facility when
25

26   these modifications were necessary to afford (and would not fundamentally alter
27   the nature of) these goods, services, facilities, or accommodations.
     _____________________________________________________________________________________________
28                                            COMPLAINT
                                                   9
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1            52.     Plaintiff seeks a finding from this Court that Defendants violated the
2
      ADA in order to pursue damages under California’s Unruh Civil Rights Act for
3
      Disable Persons Act.
4
             53.     Here the Defendants’ failure to make sure that accessible facilities
5
      were available and ready to be used by the Plaintiff is a violation of law.
6

7
             54.     Plaintiff would like to continue to frequent Defendants’ facility, but

8     Plaintiff has been discriminated against and continues to be discriminated against
9     because of the lack of accessible features.
10           55.     Among the remedies sought, Plaintiff seeks an injunction order
11
      requiring compliance with the state and federal access laws for all the access
12
      violations that exist at the Property.
13
        V. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH ACT
14                        (Cal. Civ. Code § 51-53.)
15
                                      (Against All Defendants)
16

17           56.     Plaintiff repleads and incorporates by reference, as fully set forth
18    again herein, the allegations contained in all prior paragraphs of this complaint.
19           57.     California Civil Code § 51 states, in part: All persons within the
20    jurisdictions of this state are entitled to the full and equal accommodations,
21
      advantages, facilities, privileges, or services in all business establishments of every
22
      kind whatsoever.
23
             58.     California Civil Code § 51 also states, in part: No business
24
      establishment of any kind whatsoever shall discriminate against any person in this
25

26
      state because of the disability of the person.

27           59.     California Civil Code § 51(f) specifically incorporates (by reference)
       _____________________________________________________________________________________________
28                                              COMPLAINT
                                                    10
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1     an individual’s rights under the ADA into the Unruh Act.
2
             60.      The Unruh Act also provides that a violation of the ADA, or
3
      California state accessibility regulations, is a violation of the Unruh Act. Cal Civ.
4
      Code, § 51(f); Arnold v. United Artists Theatre Circuit, Inc., 866 F. Supp. 433, 439
5
      (N.D.Cal.1994).
6

7
             61.      Defendants’ above-mentioned acts and omissions have violated the

8     Unruh Act by denying Plaintiff rights to full and equal use of the accommodations,
9     advantages, facilities, privileges and services they offer, on the basis of Plaintiff’s
10    disability.
11
             62.      Defendants’ above-mentioned acts and omissions have also violated
12
      the Unruh Act by denying Plaintiff rights to equal access pursuant to the ADA and
13
      are liable for damages. (Civ. Code § 51(f), 52(a)).
14
             63.      Because violation of the Unruh Civil Rights Act resulted in difficulty,
15

16
      discomfort or embarrassment for the Plaintiff, the Defendants are also each

17    responsible for statutory damages, such as a civil penalty. (Civ. Code § 52).
18           64.      Plaintiff was damaged by Defendants’ wrongful conduct and seeks
19    statutory minimum damages of four thousand dollars ($4,000) for each offense.
20                                   PRAYER FOR RELIEF
21
                      WHEREFORE, Plaintiff prays judgment against Defendants, as
22
      follows:
23
             1. For injunctive relief, compelling Defendants to comply with the
24
                   Americans for Disabilities Act and the Unruh Civil Rights Act. Note:
25

26                 Plaintiff is not invoking section 55 of the California Civil Code and is
27                 not seeking injunctive relief under the Disabled Person Acts.
       _____________________________________________________________________________________________
28                                              COMPLAINT
                                                    11
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1            2. Damages under the Unruh Civil Rights Act which provides for actual
2
                 damages and a statutory minimum of $4,000 per each offense.
3
             3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
4
                 to 42 U.S.C. § 12205; and Cal. Civ. Code § 52.
5
                                           JURY DEMAND
6

7     Plaintiffs demand a trial by jury on all issues so triable.
8

9      Dated: June 19, 2019           THE LAW OFFICE OF HAKIMI & SHAHRIARI
10

11

12
                                      By: /s/ Peter Shahriari
13                                       Peter Shahriari, Esq.
14
                                          Attorneys for Plaintiff

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       _____________________________________________________________________________________________
28                                              COMPLAINT
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